JS-CAND 44 (Rev. 07/19)               Case 3:20-cv-06065-WHA Document 1-1 Filed 08/28/20 Page 1 of 3
                                                                                CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
  Troyer, Casey                                                                                               The Yerba Mate Co., LLC; Guayaki Sustainable Rainforest Products,
                                                                                                              Inc.
   (b) County of Residence of First Listed Plaintiff             Santa Clara County, California                  County of Residence of First Listed Defendant
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                               THE TRACT OF LAND INVOLVED.
   (c)      Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)
 Kenneth H. Yoon; Yoon Law, APC; One Wilshire Blvd.,                                                          David L. Cheng, Daniel R. Lyman; Ford Harrison LLP; 1901
 Suite 2200, Los Angeles, CA 90017; (213)612-0988                                                             Harrison Street, Suite 1650, Oakland, CA 94612; (415)852-6914
II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                      and One Box for Defendant)
                                                                                                                                            PTF       DEF                                      PTF      DEF
      1    U.S. Government Plaintiff       3    Federal Question                                       Citizen of This State                  1        1      Incorporated or Principal Place      4      4
                                                (U.S. Government Not a Party)
                                                                                                                                                              of Business In This State
                                                                                                       Citizen of Another State                2        2     Incorporated and Principal Place     5       5
      2    U.S. Government Defendant       4     Diversity                                                                                                    of Business In Another State
                                               (Indicate Citizenship of Parties in Item III)
                                                                                                       Citizen or Subject of a                 3        3     Foreign Nation                       6       6
                                                                                                       Foreign Country

IV.          NATURE OF SUIT               (Place an “X” in One Box Only)
          CONTRACT                                                   TORTS                                       FORFEITURE/PENALTY                       BANKRUPTCY                    OTHER STATUTES
   110 Insurance                         PERSONAL INJURY                     PERSONAL INJURY                     625 Drug Related Seizure of         422 Appeal 28 USC § 158         375 False Claims Act
   120 Marine                                                                                                        Property 21 USC § 881           423 Withdrawal 28 USC           376 Qui Tam (31 USC
                                       310 Airplane                        365 Personal Injury –Product
   130 Miller Act                                                              Liability                         690 Other                               § 157                           § 3729(a))
                                       315 Airplane Product Liability
   140 Negotiable Instrument                                               367 Health Care/                                LABOR                       PROPERTY RIGHTS               400 State Reapportionment
                                       320 Assault, Libel & Slander
   150 Recovery of                                                             Pharmaceutical Personal                                                                               410 Antitrust
                                       330 Federal Employers’                                                    710 Fair Labor Standards Act        820 Copyrights
       Overpayment Of                                                          Injury Product Liability                                                                              430 Banks and Banking
                                           Liability                                                             720 Labor/Management                830 Patent
       Veteran’s Benefits                                                  368 Asbestos Personal Injury                                                                              450 Commerce
                                       340 Marine                                                                    Relations                       835 Patent─Abbreviated New
   151 Medicare Act                                                            Product Liability
                                       345 Marine Product Liability                                              740 Railway Labor Act                   Drug Application            460 Deportation
   152 Recovery of Defaulted                                               PERSONAL PROPERTY                                                                                         470 Racketeer Influenced &
                                       350 Motor Vehicle                                                         751 Family and Medical              840 Trademark
       Student Loans (Excludes                                             370 Other Fraud                                                                                               Corrupt Organizations
                                       355 Motor Vehicle Product                                                     Leave Act
       Veterans)                                                           371 Truth in Lending                                                        SOCIAL SECURITY
                                           Liability                                                             790 Other Labor Litigation                                          480 Consumer Credit
   153 Recovery of                                                         380 Other Personal Property                                               861 HIA (1395ff)
                                       360 Other Personal Injury                                                 791 Employee Retirement                                             485 Telephone Consumer
       Overpayment                                                             Damage                                Income Security Act             862 Black Lung (923)                Protection Act
    of Veteran’s Benefits              362 Personal Injury -Medical
                                           Malpractice                     385 Property Damage Product                                               863 DIWC/DIWW (405(g))          490 Cable/Sat TV
   160 Stockholders’ Suits                                                     Liability                               IMMIGRATION
                                                                                                                                                     864 SSID Title XVI              850 Securities/Commodities/
   190 Other Contract                                                                                            462 Naturalization                                                      Exchange
                                            CIVIL RIGHTS                   PRISONER PETITIONS                                                        865 RSI (405(g))
   195 Contract Product Liability                                                                                    Application
                                       440 Other Civil Rights                                                                                                                        890 Other Statutory Actions
                                                                              HABEAS CORPUS                      465 Other Immigration                FEDERAL TAX SUITS
   196 Franchise                                                                                                                                                                     891 Agricultural Acts
                                       441 Voting                          463 Alien Detainee                        Actions                         870 Taxes (U.S. Plaintiff or
          REAL PROPERTY                442 Employment                                                                                                                                893 Environmental Matters
                                                                           510 Motions to Vacate                                                         Defendant)
   210 Land Condemnation               443 Housing/                            Sentence                                                                                              895 Freedom of Information
                                                                                                                                                     871 IRS–Third Party 26 USC
                                           Accommodations                                                                                                                                Act
   220 Foreclosure                                                         530 General                                                                   § 7609
                                       445 Amer. w/Disabilities–                                                                                                                     896 Arbitration
   230 Rent Lease & Ejectment                                              535 Death Penalty
                                           Employment                                                                                                                                899 Administrative Procedure
   240 Torts to Land                                                                OTHER
                                       446 Amer. w/Disabilities–Other                                                                                                                    Act/Review or Appeal of
   245 Tort Product Liability                                              540 Mandamus & Other                                                                                          Agency Decision
   290 All Other Real Property         448 Education
                                                                           550 Civil Rights                                                                                          950 Constitutionality of State
                                                                           555 Prison Condition                                                                                          Statutes
                                                                           560 Civil Detainee–
                                                                               Conditions of
                                                                               Confinement

V.           ORIGIN (Place an “X” in One Box Only)
   1      Original                2    Removed from              3      Remanded from              4   Reinstated or           5 Transferred from              6   Multidistrict         8 Multidistrict
          Proceeding                   State Court                      Appellate Court                Reopened                  Another District (specify)        Litigation–Transfer     Litigation–Direct File


VI.          CAUSE OF           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                 28 U.S.C. §§ 1332, 1367(a), 1441(a), 1441(b), 1446 AND 1453
             ACTION
                                Brief description of cause:
                                 Plaintiff employee alleges Defendant employer failed to provide meal and rest breaks, to keep accurate wage statements, to pay all wages, and invasion of privacy.

VII.         REQUESTED IN                  CHECK IF THIS IS A CLASS ACTION                             DEMAND $                                       CHECK YES only if demanded in complaint:
             COMPLAINT:                    UNDER RULE 23, Fed. R. Civ. P.                                                                             JURY DEMAND:             Yes       No

VIII. RELATED CASE(S),                                   JUDGE                                                          DOCKET NUMBER
      IF ANY (See instructions):
IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                             SAN JOSE                        EUREKA-MCKINLEYVILLE


DATE 08/28/2020                                          SIGNATURE OF ATTORNEY OF RECORD                                                    /s/ Daniel R. Lyman
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             INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
   I. a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
     b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
     c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section “(see attachment).”
   II.    Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shownin
          pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
          (1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
          (2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
          (3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
              to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
              takes precedence, and box 1 or 2 should be marked.
          (4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
              citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
              cases.)
   III.   Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
          Mark this section for each principal party.
   IV.    Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
          sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
          one nature of suit, select the most definitive.
   V.     Origin. Place an “X” in one of the six boxes.
          (1) Original Proceedings. Cases originating in the United States district courts.
          (2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
              petition for removal is granted, check this box.
          (3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
              date.
          (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
          (5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
              multidistrict litigation transfers.
          (6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
              § 1407. When this box is checked, do not check (5) above.
          (8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
          Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.
   VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.
   VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
   VIII. Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.
   IX.    Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
          section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
          events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”
   Date and Attorney Signature. Date and sign the civil cover sheet.
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 1                   PROOF OF SERVICE – ELECTRONIC TRANSMISSION
 2
 3          STATE OF CALIFORNIA/COUNTY OF ALAMEDA
 4          I am a citizen of the United States and an employee in the County of Alameda. I am
 5   over the age of eighteen (18) years and not a party to the within action. My business address is

 6   FORD & HARRISON LLP, 1901 Harrison Street, Suite 1650, Oakland, California 94612.

 7
 8          On August 28, 2020, I electronically served the document(s) via United States District
 9   Court – Northern District of California ECF webite, described below, on the recipients
10   designated on the Transaction Receipt located on the United States District Court – Northern
11   District of California ECF website.
12
13                                      CIVIL COVER SHEET
14   On the following parties:
15
16       PLEASE SEE SERVICE LIST PROVIDED BY USDC–NORTHERN DISTRICT OF
17                                   CALIFORNIA ECF WEBSITE

18
19          I declare under penalty of perjury that the foregoing is true and correct and that this
20   document is executed on August 28, 2020, at Oakland, California.
21
22
23                                          /s/ Bridgette C. Burdick
                                            BRIDGETTE C. BURDICK
24
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26
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                                              PROOF OF SERVICE
